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   8 and Casualty Insurance Company

   9                           UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
  11
       STEPHEN CHAPMAN,                        Case No. 2:24-cv-10546
  12                                           District Judge:
  13                      Plaintiff,           NOTICE OF REMOVAL OF ACTION
                                               UNDER 28 U.S.C. § 1441
  14        v.
                                               [Filed concurrently with Declaration of
  15 HORACE MANN PROPERTY &                    Kristin Ingulsrud; Declaration of Matthew
     CASUALTY INSURANCE                        Rubin; Civil Cover Sheet; Notice of
  16 COMPANY,
                                               Interested Parties]
  17                                           State Complaint Filed: October 24, 2024
                          Defendant.           Removal Filed:        December 6, 2024
  18

  19

  20 TO THE HONORABLE COURT, PARTIES, AND COUNSEL OF RECORD:

  21        Defendant Horace Mann Property and Casualty Insurance Company (“Horace
  22 Mann”) hereby removes this action from the Superior Court of the State of

  23 California, County of Los Angeles, where it is currently pending as Stephen

  24 Chapman v. Horace Mann Property & Casualty Insurance Company, Case No.

  25 24STCV27909 (“State Action”), to the United States District Court for the Central

  26 District of California.

  27        Removal is warranted under 28 U.S.C. §1441(b) because the Court has subject
  28 matter jurisdiction under 28 U.S.C. §1332 over the State Action. Under 28 U.S.C.



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   1 §1332(c)(l), full diversity exists among the parties, as evidenced by the states where

   2 Horace Mann is incorporated and maintains its principal place of business (Illinois)

   3 and where Plaintiff Stephen Chapman resides (California). The amount in controversy

   4 exceeds the sum of $75,000.

   5         This Notice of Removal is timely because it is filed within thirty days after
   6 service of a copy of the Summons and Complaint of the State Action upon Horace

   7 Mann, which occurred on November 8, 2024.

   8         Under 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders in the
   9 State Action received by Horace Mann are attached to the Declaration of Kristin

  10 Ingulsrud as Exhibit A.

  11         Pursuant to 28 U.S.C. § 1446(d), a Notice to State Court of Removal of Action
  12 to Federal Court, together with this Notice of Removal, will be served upon Chapman

  13 on December 6, 2024, and will be filed in the State Action.

  14                                      BACKGROUND
  15         On October 24, 2024, Plaintiff Chapman commenced the State Action. On
  16 November 14, 2024, he filed a First Amended Complaint. listing purported causes of

  17 action titled (1) Breach of Contract, (2) Bad Faith Denial of Insurance Benefits, (3)

  18 Fraud and Intentional Misrepresentation, (4) Negligent Misrepresentation, (4)

  19 Negligent Misrepresentation, (5) Breach of Fiduciary Duty, (6) Malfeasance, (7)

  20 Oppressive Conduct, (8) Violation of California Insurance Code § 662, (9) Violation
  21 of California Business & Professions Code§ 17200, (10) Intentional Infliction of

  22 Emotional Distress (IIED), and (11) Negligent Infliction of Emotional Distress

  23 (NIED).

  24                              GROUNDS FOR REMOVAL
  25         This Court has subject matter jurisdiction over the State Action under 28 U.S.C.
  26 §1332, which confers upon the “district courts . . . original jurisdiction of all civil

  27 actions where the matter in controversy exceeds the sum or value of $75,000, exclusive

  28 of interest and costs, and is between . . . citizens of different States[.]”



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   1                            AMOUNT IN CONTROVERSY
   2         The allegations and claims in the First Amended Complaint seek recovery for
   3 alleged losses after Horace Mann, because of Plaintiff’s non-payment of premium,

   4 canceled an automobile policy with bodily injury liability limits of $100,000 per

   5 person/$300,000 per accident, property damage liability limit of $100,000 per

   6 accident, medical payments limit of $5,000 per insured, UM/UIM bodily injury limits

   7 of $100,000 per person/$300,000 per accident, collision coverage, other-than-collision

   8 coverage, and other coverages. In addition to benefits from the non-existent policy,

   9 the First Amended Complaint seeks compensatory damages and lost wages caused by

  10 the absence of insurance, emotional distress damages, punitive damages, and

  11 attorney’s fees and costs. It therefore appears that Plaintiff will be seeking an amount

  12 in excess of $75,000.001, although Horace Mann’s position is that Plaintiff is entitled

  13 to nothing because Horace Mann acted lawfully and properly, including meeting the

  14 notice requirements. See Ingulsrud Decl., Exh. A; Declaration of Matthew Rubin,

  15 Exh. 1.

  16                            DIVERSITY OF CITIZENSHIP
  17         Plaintiff is an individual residing in the County of Los Angeles, State of
  18 California. See Ingulsrud Decl., Exh. A, First Amended Complaint.

  19         Defendant Horace Mann is a corporation organized and existing under the laws
  20 of the state of Illinois, with its principal place of business in Springfield, Illinois.
  21 Horace Mann is, and was at the commencement of the State Action, a resident and

  22 citizen of the state of Illinois and of the United States. See Ingulsrud Dec., Exh. A,

  23 First Amended Complaint.

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        Horace Mann reserves all rights, including without limitation its right to contest the
       quantum of damages sought by Chapman.

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   1        Accordingly, there is complete diversity of citizenship, this Court has
   2 jurisdiction over this action, and the State Action is properly removed under 28 U.S.C.

   3 § 1441.

   4        WHEREFORE, Horace Mann files this Notice of Removal so that the State
   5 Action shall be removed to this Court for all further proceedings.

   6 Dated: December 6, 2024                FREEMAN MATHIS & GARY, LLP
   7

   8                                        By:       /s/ Kristin Ingulsrud
   9                                                  Marc J. Shrake
                                                      Kristin A. Ingulsrud
  10                                                  Attorneys for Defendant Horace Mann
                                                      Property and Casualty Insurance
  11                                                  Company
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                      1                            CERTIFICATE OF SERVICE
                      2        I hereby certify that on the 6th day of December, 2024, I served the foregoing
                      3 document described as NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C.

                      4 1441 via email and U.S. Mail, on the interested parties in this action as follows:

                      5

                      6
                           STEPHEN CHAPMAN, IN PRO PER
                      7    7917 Selma Avenue 336
                           Los Angeles, CA 90046
                      8    T: 619.550.7543
                           stefinchapman@outlook.com
                      9

                     10

                     11        I declare under penalty of perjury under the laws of the United States of America

                     12 that the foregoing is true and correct and that I am employed in the office of a member

                     13 of the bar of this Court under whose direction the service was made.

                     14
                               Executed on December 6, 2024, at Houston, TX.
                     15

                     16
                                                                /s/ Connie Spears
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Freeman Mathis
  & Gary, LLP
Attorneys at Law     28
